 

Case 2:21-cr-00049-MHT-JTA Document 103 Filed 04/08/21 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

NORTHERN DIVISION
UNITED STATES OF AMERICA )
)
Vv. ) CR. NO. 2:21-cr-49-MHT-JTA-6
)
THOMAS MICHAEL SISK )

CONSENT
I hereby declare my intention to enter a plea of guilty in the above case, and
after conferring with my lawyer, I hereby consent to have a United States
Magistrate Judge conduct the proceedings required by Rule 11 of the Federal Rules
of Criminal Procedure incident to the making of such a plea and to adjudicate me
guilty based on my plea of guilty. I understand that the District Judge to whom
this case is assigned will decide later whether to accept or reject any plea

agreement I may have with the United States and will impose sentence.

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DATED this Sl day of March, 2021. ay

DEFEND be he

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COUNSEL
